

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 06,971-06






NESBY JONES, Relator



v.



		DISTRICT CLERK, DALLAS COUNTY, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM DALLAS COUNTY






		Per curiam.



O R D E R



	

	Relator has filed a motion for leave to file a writ of mandamus.  In it, he contends that
he filed an application for a writ of habeas corpus in the 291ST Judicial District Court of
Dallas County, that more than 35 days have elapsed, and that the application has not yet been
forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District
Clerk of Dallas County, is ordered to file a response, which may be made by: submitting the
record on such habeas corpus application; submitting a copy of a timely filed order which
designates issues to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim.
App. 1992); by stating that the nature of the claims asserted in the application filed by relator
is such that the claims are not cognizable under Tex. Code Crim. Proc., art 11.07, § 3; or
stating that relator has not filed an application for habeas corpus in Dallas County.  This
application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within
30 days of the date of this order.


	IT IS SO ORDERED THIS THE 29th DAY Of MARCH, 2006.


DO NOT PUBLISH
















												


